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 1   DICKINSON WRIGHT PLLC
     BRIAN R. IRVINE
 2   Nevada Bar No. 7758
 3   100 West Liberty Street
     Suite 940
 4   Reno, Nevada 89501
     Tel: (775) 343-7500
 5   Fax: (844) 670-6009
     Email: birvine@dickinsonwright.com
 6

 7   Attorneys for Defendant

 8
                          UNITED STATES BANKRUPTCY COURT
 9                               DISTRICT OF NEVADA
10
     IN RE:                                              Chapter 11
11
     RED ROSE, INC., et al.,                             CASE NO. BK-S-20-12814-mkn
12                                                       Jointly Administered in the United States
                                                         Bankruptcy Court for the District of Nevada
13                             Debtors.                  Under
14

15   ACF FINCO I, LP,                                    Adv. Pro. No.: 21-01245-mkn

16                         Plaintiff,                    AMENDED COMPLAINT TO AVOID
                                                         AND RECOVER PREFERENTIAL
17                                                       TRANSFERS PURSUANT TO 11
     v.
18                                                       U.S.C. §§ 547 AND 550
     ALPHA SUPPLY, LLC,
19
                         Defendant.
20

21

22         Defendant Alpha Supply, LLC (“Defendant”), by and through its undersigned
23
     attorneys, hereby submits its answer the Complaint to Avoid and Recover Preferential
24
     Transfers Pursuant to 11 U.S.C. §§ 547 and 550 (“Complaint”) [Adversary Docket No. 1]
25

26 filed by Plaintiff ACF Finco I, L.P. (“Plaintiff”), as follows.
                                                  1
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 1                                           Jurisdiction and Venue
 2
            1.      Defendant is informed and believes that the status of the case is as reflected
 3
     in the Bankruptcy Court records, but except as so admitted, Defendant denies each and
 4

 5 every allegation contained in paragraph 1 of the Complaint.

 6          2.      Paragraph 2 of the Complaint consists of statements and conclusions of law
 7
     to which no response is required. To the extent a response is required, Defendant denies
 8
     that Plaintiff is entitled to the relief requested.
 9

10          3.      Paragraph 3 of the Complaint consists of statements and conclusions of law

11 to which no response is required. To the extent a response is required, Defendant denies

12
     that Plaintiff is entitled to the relief requested.
13
            4.      Defendant admits the allegations contained in paragraph 4 of the Complaint.
14

15                                                 Parties

16          5.      Defendant admits that it was a creditor of one of the Debtors. Defendant is
17
     without knowledge or information sufficient to form a belief as to the truth of the remaining
18
     allegations contained in paragraph 5 of the Complaint and therefore denies those allegations
19

20 contained in paragraph 5 of the Complaint.

21          6.      Defendant admits the allegations contained in paragraph 6 of the Complaint.
22
            7.      Defendant admits the allegations contained in paragraph 7 of the Complaint.
23
                             Relationship between Defendant and Debtors
24

25          8.      Defendant admits the allegations contained in paragraph 8 of the Complaint.

26          9.      Defendant admits the allegations contained paragraph 9 of the Complaint.
                                                       2
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 1          10.     Defendant is without knowledge or information sufficient to form a belief as
 2
     to the truth of the allegations contained in paragraph 10 of the Complaint and therefore
 3
     denies those allegations.
 4

 5          11.     Defendant admits the allegations contained in paragraph 8 of the Complaint.

 6          12.     Defendant is without knowledge or information sufficient to form a belief as
 7
     to the truth of the allegations contained in paragraph 12 of the Complaint and therefore
 8
     denies those allegations.
 9

10          13.     Defendant denies the allegations contained in paragraph 13 of the Complaint.

11                                            COUNT I
12
                  (Avoidance of Preferential Transfers Pursuant to 11 U.S.C. §547)
13
            14.     In response to paragraph 14 of the Complaint, Defendant restates and
14

15 incorporates by reference its responses to paragraphs 1 through 13 of the Complaint.

16          15.     Defendant is without knowledge or information sufficient to form a belief as
17
     to the truth of the allegations contained in paragraph 15 of the Complaint and therefore
18
     denies those allegations.
19

20          16.     Defendant admits the allegations contained in paragraph 16 of the Complaint.

21          17.     Defendant denies the allegations contained in paragraph 17 of the Complaint.
22
            18.     Defendant is without knowledge or information sufficient to form a belief as
23
     to the truth of the allegations contained in paragraph 18 of the Complaint and therefore
24

25 denies those allegations.

26          19.     Defendant admits the allegations contained in paragraph 19 of the Complaint.
                                                   3
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 1          20.    Defendant is without knowledge or information sufficient to form a belief as
 2
     to the truth of the allegations contained in paragraph 20 of the Complaint and therefore
 3
     denies those allegations.
 4

 5          21.    Defendant denies the allegations contained in paragraph 21 of the Complaint.

 6                                            COUNT II
 7
                  (Recovery of Avoided Transfers Pursuant to 11 U.S.C. §§ 550)
 8
            22.    In response to paragraph 22 of the Complaint, Defendant restates and
 9

10 incorporates by reference its responses to paragraphs 1 through 21 of the Complaint.

11          23.    Defendant admits the allegations contained in paragraph 23 of the Complaint.
12
            24.    Defendant is without knowledge or information sufficient to form a belief as
13
     to the truth of the allegations contained in paragraph 24 of the Complaint and therefore denies
14

15 those allegations.

16          25.    Defendant denies the allegations contained in paragraph 25 of the Complaint.
17
                                        Reservation of Rights
18
            26.    Defendant is without knowledge or information sufficient to form a belief as
19

20 to the truth of the allegations contained in paragraph 26 of the Complaint. To the extent a

21 response is required, Defendant denies the allegations contained in paragraph 26 of the

22
     Complaint.
23
                                    AFFIRMATIVE DEFENSES
24
            27.    As a first and separate affirmative defense, the Defendant alleges that the
25
     Complaint and each Claim thereof fail to state claims for relief.
26
                                                   4
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 1         28.    As a second and separate affirmative defense, the Defendant alleges that the
 2 Transfers were intended by the transferor Debtor and the Defendant to be contemporaneous

 3 exchanges for value and were, in fact, substantially contemporaneous exchanges, all in

 4 accordance with 11 U.S.C. § 547(c)(1).

 5         29.    As a third and separate affirmative defense, the Defendant alleges that the
 6 Transfers made to the Defendant were made in the ordinary course of business or financial

 7 affairs of the transferor Debtor and the Defendant or were made according to ordinary

 8 business terms, all in accordance with 11 U.S.C. § 547(c)(2).

 9         30.    As a fourth and separate affirmative defense, Defendant alleges that each of
10 the Transfers made to the Defendant by the transferor Debtor was followed by the

11 Defendant’s giving new value and benefit to or for the benefit of the transferor Debtor on

12 account of which the transferor Debtor did not make an otherwise unavoidable transfer to

13 the Defendant, all in accordance with 11 U.S.C. § 547(c)(4).

14         31.    As a fifth and separate affirmative defense, the Defendant alleges that the
15 Defendant is entitled to all just, proper, or lawful offsets or credits in connection with

16 Plaintiff’s claims.

17         32.    As a sixth and separate affirmative defense, the Defendant alleges that the
18 transferor Debtor or Debtors were not insolvent at the time of the Transfers. The Defendant

19 denies that any payments to Defendant were made while the transferor Debtor was insolvent

20 and expressly reserve the right to seek a bifurcated trial in order to have the Court determine

21 whether the transferor Debtor was solvent on each date upon which it made each alleged

22 transfer, such trial to be prior to any trial on the remaining elements that the Plaintiff must

23 prove under 11 U.S.C. § 547.

24         33.    The Defendant consents to the entry of final orders or judgments by the
25 Bankruptcy Judge if it is determined that the Bankruptcy Judge, absent consent of the

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                                                  5
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 1 parties, cannot enter final orders or judgments consistent with Article III of the

 2 United States Constitution.

 3         34.    Additional facts may be revealed by future discovery which support defenses
 4 presently available to, but unknown by, the Defendant. Accordingly, the Defendant alleges

 5 the following affirmative defenses: waiver, estoppel, ratification, release, res judicata, lack

 6 of jurisdiction over subject matter, lack of jurisdiction over person, improper venue, failure

 7 to join all necessary parties, insufficiency of process, insufficiency of service of process,

 8 statute of limitations, laches, privilege, novation, failure of consideration, statutory

 9 exemption, conditions precedent, recoupment, and any other grounds which constitute an

10 avoidance or affirmative defense.

11         WHEREFORE, the Defendant demands judgment in its favor and against the
12 Plaintiff on every Claim of the Complaint, that the Complaint be dismissed with prejudice,

13 and that the Court award the Defendant such other and further relief as is just and equitable,

14 together with the taxation of professional fees and costs according to law.

15         DATED: June 14, 2022.
16                                            DICKINSON WRIGHT PLLC
17

18                                            /s/ Brian R. Irvine
                                              BRIAN R. IRVINE
19                                            Nevada Bar No. 7758
                                              100 West Liberty Street
20                                            Suite 940
                                              Reno, Nevada 89501
21
                                              Tel.: (775) 343-7500
22                                            Fax: (844) 670-6009
                                              Email: birvine@dickinsonwright.com
23
                                              Attorneys for Defendant
24

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                                                  6
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 1 Copy of the foregoing sent by electronic mail to:

 2
     Talitha Gray Kozlowski
 3   tgray@brg.legal
     Garret Nye
 4   gnye@brg.legal
 5   BANKRUPTCY RECOVERY GROUP, LLC
     7251 Amigo Street, Suite 210
 6   Las Vegas NV 89119
     Attorneys for Plaintiff
 7

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